                      Case 18-10334       Doc 248     Filed 03/15/18    Page 1 of 2



                              UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF MARYLAND
                                       Greenbelt Division

    In re:

    THE CONDOMINIUM ASSOCIATION OF                        Case No. 18-10334
    THE LYNNHILL CONDOMINIUM,
                                                          Chapter 11
                            Debtor. 1


     NOTICE OF (I) CLOSING OF SALE OF “THE LYNNHILL CONDOMINIUM” TO
    DRAGONE REALTY, LLC, AND (II) OCCURRENCE OF EFFECTIVE DATE UNDER
          THE DEBTOR’S SECOND AMENDED JOINT CHAPTER 11 PLAN

             PLEASE TAKE NOTICE THAT:

1.           On March 1, 2018, the U.S. Bankruptcy Court for the District of Maryland entered an
             order (the “Confirmation Order”) [Doc. 237], confirming the Debtor’s Second Amended
             Joint Chapter 11 Plan (the “Plan”) [Doc. 227] and approving the sale of the real property
             and improvements thereon located at 3103 and 3107 Good Hope Avenue, Temple Hills,
             Maryland 20748 (the “Property”) to Dragone Realty, LLC (“Dragone”).

2.           On March 15, 2018, the sale of the Property to Dragone (the “Sale”) closed as provided
             for in the Plan and the Confirmation Order.

3.           Pursuant to the terms of the Plan, the Effective Date of the Plan is March 15, 2018 (the
             same date as the closing of the Sale).

4.           The Confirmation Order and the Plan are available free of charge (i) on the website
             established by the Debtor at http://www.kccllc.net/Lynnhill, or (ii) between the hours of
             8:00 a.m. and 4:00 p.m. (ET), Monday through Friday, at the Office of the Clerk, 6500
             Cherrywood Lane, Suite 300, Greenbelt, MD 20770. Copies are also available upon
             written request to LynnhillInfo@kccllc.com or Lynnhill Claims Processing Center, c/o
             KCC, 2335 Alaska Ave., El Segundo, CA 90245 or by calling: 877-725-7530 or 424-
             236-7240.




1
     The Debtor’s federal identification number is XX-XXXXXXX.


                                                                                        4837-6967-2543.v1
               Case 18-10334   Doc 248   Filed 03/15/18    Page 2 of 2



Dated: March 15, 2018                Respectfully submitted,

                                     Pillsbury Winthrop Shaw Pittman LLP

                                     /s/ Patrick Potter
                                     Patrick J. Potter (Bar No. 08445)
                                     1200 Seventeenth Street, NW
                                     Washington, DC 20036
                                     Tel (202) 663-8928
                                     Fax (202) 663-8007
                                     E-mail: patrick.potter@pillsburylaw.com

                                     Dania Slim (Bar No. 18050)
                                     324 Royal Palm Way, Suite 220
                                     Palm Beach, FL 33480
                                     Tel (202) 663-9240
                                     Fax (202) 663-8007
                                     E-mail: dania.slim@pillsburylaw.com

                                     Jason S. Sharp (admitted pro hac vice)
                                     2 Houston Center
                                     909 Fannin, Suite 2000
                                     Houston, TX 77010
                                     Tel (713) 276-7600
                                     Fax (713) 276-7673
                                     Email: jason.sharp@pillsburylaw.com

                                     Counsel for the Debtor




                                         2
                                                                              4837-6967-2543.v1
